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                EXHIBIT A




 
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Fischer, Aron (x2363)

From:                                           Sanford, Gregory B. <gregory.sanford@kirkland.com>
Sent:                                           Friday, March 30, 2018 9:14 AM
To:                                             Fischer, Aron (x2363); Cutri, Elizabeth A.; _cg Celltrion Internal
Cc:                                             Alison Casey; Heather B. Repicky; #Hospira-Infliximab; inflixWS; Andrea L. Martin;
                                                dkelly@burnslev.com
Subject:                                        RE: Janssen v. Celltrion


Aron,

As Liz mentioned, there is quite a bit of time and discovery remaining between now and the deadlines for filing motions
and we have not decided what motions in limine, Daubert, and summary judgment motions we intend to file in
May. Given the amount of time the Court has set aside in June to hear motions, we do not believe there will be any
problem fitting this motion into the schedule. Please let us know Janssen’s position on the requests for leave to file the
motion, to permit up to 30 pages, and to set a briefing schedule. We remain willing to discuss this with you today if you
would like.


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From: Fischer, Aron (x2363) <afischer@pbwt.com>
Sent: Friday, March 30, 2018 6:08 AM
To: Cutri, Elizabeth A. <elizabeth.cutri@kirkland.com>; _cg Celltrion Internal <CelltrionInternal@pbwt.com>
Cc: Alison Casey <ACasey@nutter.com>; Heather B. Repicky <HRepicky@nutter.com>; #Hospira-Infliximab <Hospira-
Infliximab@kirkland.com>; inflixWS <inflixWS@winston.com>; Andrea L. Martin <amartin@burnslev.com>;
dkelly@burnslev.com
Subject: RE: Janssen v. Celltrion

Liz,

The reason we need to know what other motions you are filing is that we are concerned whether there is
enough room in the schedule for an untimely motion for summary judgment on liability, and that depends on
what else is on the schedule. I find it unlikely that you have no idea what motions you are planning to
file. Please provide the information that you have.

Thanks
Aron

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From: Cutri, Elizabeth A. [mailto:elizabeth.cutri@kirkland.com]
Sent: Friday, March 30, 2018 1:30 AM
To: Fischer, Aron (x2363); _cg Celltrion Internal
Cc: Alison Casey; Heather B. Repicky; #Hospira-Infliximab; inflixWS; Andrea L. Martin; dkelly@burnslev.com
Subject: RE: Janssen v. Celltrion

Aron,

As you know, discovery is ongoing. Janssen has not completed its expert reports, and no experts have been deposed. We
are still considering what summary judgment, Daubert, and in limine motions Defendants will file in May. We do not see
why that should hold up the ensnarement motion or the motion for leave though. Please let us know Janssen’s position
on the requests for leave to file the motion, to permit up to 30 pages, and to set a briefing schedule. We remain willing
to discuss on Friday if you would like.

Regards,
Liz


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From: Fischer, Aron (x2363) <afischer@pbwt.com>
Sent: Thursday, March 29, 2018 3:45 PM
To: Cutri, Elizabeth A. <elizabeth.cutri@kirkland.com>; _cg Celltrion Internal <CelltrionInternal@pbwt.com>
Cc: Alison Casey <ACasey@nutter.com>; Heather B. Repicky <HRepicky@nutter.com>; #Hospira-Infliximab <Hospira-
Infliximab@kirkland.com>; inflixWS <inflixWS@winston.com>; Andrea L. Martin <amartin@burnslev.com>;
dkelly@burnslev.com
Subject: RE: Janssen v. Celltrion

Liz,

You’re correct that we would oppose the underlying motion. In order decide what our position will be on leave
to file, we need to know more about what else is on the agenda for June. Please let us know what, if any,
additional motions for summary judgment, motion to exclude experts, and in limine motions you intend to file
this May.

Thanks
Aron

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From: Cutri, Elizabeth A. [mailto:elizabeth.cutri@kirkland.com]
Sent: Thursday, March 29, 2018 4:19 PM
To: _cg Celltrion Internal
Cc: Alison Casey; Heather B. Repicky; #Hospira-Infliximab; inflixWS; Andrea L. Martin; dkelly@burnslev.com
Subject: Janssen v. Celltrion

Counsel,

Defendants intend to file a motion seeking leave to file a motion for summary judgment of noninfringement based on
ensnarement. We plan to request that the Court set a briefing schedule and hear the motion during the week of June
11. We also intend to ask for up to 30 pages for our opening brief. We expect Janssen would oppose the summary
judgment motion, but please let us know Janssen’s position on the motion for leave by Monday morning. If you would
like to discuss, we are available on Friday.

Regards,
Liz


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